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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
MAY WALKER,
an individual,

       Plaintiff,                                            Case No.: 8:16-cv-00862-JDW-AAS

v.

NIIWIN, LLC,
d/b/a LENDGREEN,
a foreign limited liability company,

      Defendant.
___________________________________/

                           NOTICE OF SETTLEMENT AND
                    STIPULATION FOR DISMISSAL WITH PREJUDICE

       COMES NOW, Plaintiff, MAY WALKER (“Plaintiff”), by and through the undersigned

counsel pursuant to Federal Rules of Civil Procedure 41(a)(1)(i) and Middle District of Florida,

Local Rule 3.08, and hereby files this Notice of Settlement and Stipulation for Dismissal with

Prejudice.    Pursuant to Plaintiff’s settlement with NIIWIN, LLC, d/b/a LENDGREEN

(“Defendant”), Plaintiff states as follows:

       1.      Plaintiff and Defendant reached a confidential settlement in the above-styled case.

       2.      Plaintiff hereby dismisses her claims with prejudice.

       3.      The parties shall bear their own attorneys’ fees and costs.

       4.      To the extent the Court treats the foregoing as a Motion, pursuant to Middle

District of Florida Local Rule 3.01(g), the undersigned certifies he consulted with Defendant's

counsel, and Defendant agrees to the relief sought herein.

       Submitted this 22nd day of November 2016.

                                              Respectfully submitted,
                                              LEAVENLAW
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                                         /s/ Sara J. Weiss
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                             CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on November 22, 2016, I filed a true and correct copy of the
above and foregoing Notice of Settlement and Stipulation for Dismissal with Prejudice via
CM/ECF which will electronically serve the following counsel of record:

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                                         /s/ Sara J. Weiss
                                         Attorney
